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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                      CASE NO. 0:24-cv-60382-LEIBOWITZ/AUGUSTIN-BIRCH


  JESSICA PIAFSKY,

         Plaintiff,

  v.

  MB HOME IMPROVEMENTS,
  INC., et al .,

         Defendants.

  ______________________________________/

                                             ORDER

         Before the Court is Plaintiff’s Unopposed Motion to Extend Time for Factual Discovery (the

  “Motion”) [ECF No. 71], filed on February 14, 2025. Upon due consideration, it is ORDERED

  AND ADJUDGED the Motion [ECF No. 71] is GRANTED. The parties shall complete factual

  discovery no later than June 2, 2025. No further extensions will be granted absent extraordinary

  circumstances.

         DONE AND ORDERED in the Southern District of Florida this February 14, 2025.




  cc: counsel of record
